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 6                            UNITED STATES DISTRICT COURT                                                  l
 7                                    D ISTR ICT O F N EV A DA
                                                                                                            E
 8 UNITED STATES0FAM ERICA,                        )
                                                   )
 9                       Plaintiffs                )
                                                   )
10         v.                                      )          2:l0-CR-547-RLH IGW FI
                                                   ) .
11 JOHN SKOOG,                                     )
                                                   )
12                       Defendant.                )
13                         PRELIM INM W ORDER O F FORFEITURE
14         ThisCourtfindsthatonSeptemberz3,2011,defendantlol'm SKOOG p1edguiltytoCounts
15 One and Two ofa Two-cotmtSuperseding CriminalIndictm entcharging him in Cotmt0newith

16 Conspiracyto LatmderM onetarylnstruments.inviolationofTitle 18,UnitedStatesCode,Sections

17 1956(a)(1)(B)(i)and(h),andinCountTwowithConspiracytoDistributeOxycodone,inviolation
18 ofTitle21,United StatesCode,Sections841(a)(1)and 846.Docket# .
19         n isCourtfindsdefendantJOHN SKOOG agreedtotheforfeitureoftheproperty setforth
20 in Forfeimre Allegationsofthe Superseding Crim inalInformation and in thePlea M em orandum .
21 # .

22         n isCourtfinds,ptlrsuantto Fed.R.Crim.P.32.2(b)(1)and (2),the United Statesof
23 Am ericahasshown therequisitenexusbetween propertysetforth in the Forfeitm eAllegationsof
24 the Superseding Crim inalInform ation and in the Plea M emorandum and the offenses to which
25 defendantJOI4N SK O OG pled guilty.
26 ...
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 1          The following assetsare subjectto forfeiturepursuantto Title 18,United StatesCode,
 2 Section 981(a)(1)(A)and Title28,United StatesCode,Section 2461(c);Title l8,United States
 3 Code,Section982(a)(1);Title 18,United StatesCode,Section 98l(a)(1)(C)andTitle28,United
 4 StatesCode,Section 2461(c);andTitle2l,UnitedStatesCode,Section 853(a)(1):
 5          a)KimberProCarryII,.45calibersemi-automaticpistol,serialnumberK.
                                                                           R 104366;
 6          b)Ballisticvest-blueincolor,noserialnumber;and
 7          c)anyandaIlammunitiont'propertf'l.
 8          This Courtfindsthe United StatesofAmerica isnow entitled to,and should,reducethe

 9 aforementionedproperty to thepossession ofthe United StatesofAmerica.
10          N O W THEREFORE,IT IS H EREB Y ORD ERED ,A DJU D GED ,AN D D Ecu ED thatthe
l1 U nited States ofA m erica should seize the aforem entioned property,

12          IT ISFURTHER ORDERED,ADJUDGED,AND DECREED a1lright,title,and interestof
13 JOIlN SKOOG in the aforementioned property isforfeited and isvested in the United Statesof
14 Americaand shallbesafely held by theUnited StatesofAmericauntilfurtherorderofthe Court.
15          ITISFURTHER ORDERED,ADJUDGED,AND DECREED tIK UnitedStatesofAmerica

l6 shallpublishforatleastthirty(30)consecutivedaysontheoflicialinternetgovernmentforfeiture
17 website,w ww.forfeiture.gov,noticeofthisOrder,which shalldescribetheforfeited property,slte
18 thetimeundertheapplicablestatutewhenapetitioncontestingtheforfeituremustbefiled,andstate

l9 the name and contact inform ation for the govem m ent attorney to be selwed with the petition,

20 pursuanttoFed.R.Crim.P.32.2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2).
21          IT IS FU RTH ER ORD ERED,A D JU D G ED ,A N D D ECREED a petition,ifany,m ustbe

22 filed withtheClerk ofthe Courq 333 LasVegasBoulevard South,LasVegas,Nevada89101.
23          IT IS FU RTHER O RDERED ,A D JUD G ED ,AN D D ECREED acopy ofthepetition,ifany,

24 shallbe served upon the AssetForfeiture Attorney of the U nited States A ttorney's Office atthe
25 following addressatthetimeoffiling:
26 ...

                                                   2
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 1                M ichaelA .H um phreys
                  AssistantUnited StatesAttorney
2                 DanielD.Hollingsworth
                  A ssistantU nited StatesA ttorney
3                 Nevada State BarNo.1925
                  Lloyd D .GeorgeUnited StatesCourthouse
4                 333LasVegasBoulevard South,Suite 5000
                  LasVegas,Nevada 89101
5
6          IT IS FU RTH ER OR DERED ,A D JU D GED,AN D D ECREED the notice described herein

7 need notbepublished in the eventaDeclaration ofForfeitureisissued by the appropriate agency
8 follow ing publication ofnotice ofseizure and intentto adm inistratively forfeitthe above-described
9 property.

           DATED thiszs bk da
                            yor
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10                                               .    /z,,   = 2011.


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13                                         % .

                                                     UN       A TES D I TRICT JUD G E
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